
PER CURIAM.
Defendant appeals to this Court from the decision of the Court of Appeals on the basis of a dissent. In light of the State's concession of error, we reverse the decision of the Court of Appeals as to the appealable issue of right i.e. whether it was appropriate to dismiss defendant's appeal on procedural grounds. The case is remanded to the Court of Appeals to determine if any error under Georgia v. Randolph, 547 U.S. 103, 126 S.Ct. 1515, 164 L.Ed.2d 208 (2006) was harmless beyond a reasonable doubt. The remaining issues addressed by the Court of Appeals are not before this Court and its decision as to these issues remains undisturbed.
REVERSED IN PART AND REMANDED.
